          Case 1:16-cv-07577-WHP Document 139 Filed 11/02/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
ANDRE SCE,
                                    Plaintiff,                            16 CIVIL 7577 (WHP)

                 -against-                                                   JUDGMENT
CITY OF NEW YORK, et al.,
                                    Defendants.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Memorandum and Order dated November 2, 2020, Defendants’ motion for

summary judgment is granted as to Scé’s Title VII, § 1983, and NYCHRL claims. This Court

also grants Defendants’ motion to dismiss Scé’s retaliation claims under Title VII, the NYSHRL,

and the NYCHRL; accordingly, the case is closed.

Dated: New York, New York
       November 2, 2020



                                                                         RUBY J. KRAJICK
                                                                      _________________________
                                                                            Clerk of Court
                                                                BY:
                                                                      _________________________
                                                                            Deputy Clerk
